DATE: February 2, 2021


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Troy McGowan
             v. Commonwealth of Virginia
             Record No. 0436-20-1
             Opinion rendered by Senior Judge Annunziata on
              November 24, 2020

          2. Paula Jo Smith
             v. Commonwealth of Virginia
             Record No. 1146-19-4
             Opinion rendered by Chief Judge Decker on
              December 1, 2020

          3. Richard Paul Stevens
             v. Commonwealth of Virginia
             Record No. 1275-19-2
             Opinion rendered by Chief Judge Decker on
              December 1, 2020

          4. Nicholas Lee Thomas
             v. Commonwealth of Virginia
             Record No. 0176-20-2
             Opinion rendered by Judge Humphreys on
              December 1, 2020

          5. Rebecca Jones Richard
             v. Commonwealth of Virginia
             Record No. 1722-19-3
             Opinion rendered by Judge Humphreys on
              December 8, 2020
   The following case in which the Court of Appeals issued a published opinion has been
disposed of by the Supreme Court:

1. Coshaun Tyrell Bryant
   v. Commonwealth of Virginia
   Record No. 0221-19-1
   Opinion rendered by Judge Beales
    on June 16, 2020
   Refused (200902)
